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  Fill in this information to identify your case:                                                              Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by
  Debtor 1           Franklin A. Bennett III
                    __________________________________________________________________                         this Statement:
                      First Name             Middle Name             Last Name

  Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
  (Spouse, if filing) First Name             Middle Name             Last Name                                        under 11 U.S.C. § 1325(b)(3).

  United States Bankruptcy Court for the: ______________________ District of __________                           2. Disposable income is determined
                                                                                 (State)                              under 11 U.S.C. § 1325(b)(3).
  Case number         ___________________________________________
  (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                               
                                                                                                               ✔   4. The commitment period is 5 years.

                                                                                                               Check if this is an amended filing

Official Form 122C–1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Part 1:          Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
   
   ✔ Not married. Fill out Column A, lines 2-11.

    Married. Fill out both Columns A and B, lines 2-11.
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
   bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
   August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
   the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
   from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                   Column A            Column B
                                                                                                   Debtor 1            Debtor 2 or
                                                                                                                       non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).
                                                                                                            0.00
                                                                                                   $____________                 0.00
                                                                                                                          $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                           0.00
                                                                                                   $____________                 0.00
                                                                                                                          $__________

4. All amounts from any source which are regularly paid for household expenses of
   you or your dependents, including child support. Include regular contributions from
   an unmarried partner, members of your household, your dependents, parents, and
   roommates. Include regular contributions from a spouse only if Column B is not filled                   0.00
                                                                                                   $___________                 0.00
                                                                                                                          $__________
   in. Do not include payments you listed on line 3.

5. Net income from operating a business, profession, or farm

   Gross receipts (before all deductions)                             $____________

   Ordinary and necessary operating expenses                        – $____________

   Net monthly income from a business, profession, or farm                4,000.00
                                                                      $____________
                                                                                           Copy        4,000.00
                                                                                                   $____________                0.00
                                                                                                                          $_________
                                                                                           here


6. Net income from rental and other real property
   Gross receipts (before all deductions)                                    0.00
                                                                     $____________

   Ordinary and necessary operating expenses                               0.00
                                                                – $_____________
                                                                                           Copy
   Net monthly income from rental or other real property                      0.00
                                                                     $____________
                                                                                           here            0.00
                                                                                                   $____________                0.00
                                                                                                                         $__________


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 Debtor 1            Franklin A. Bennett III
                     _______________________________________________________         Document     Page 2 ofCase
                                                                                                            3 number (if known)_____________________________________
                     First Name           Middle Name                  Last Name



                                                                                                                                        Column A                            Column B
                                                                                                                                        Debtor 1                            Debtor 2 or
                                                                                                                                                                            non-filing spouse

7. Interest, dividends, and royalties                                                                                                             0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

8. Unemployment compensation                                                                                                                      0.00
                                                                                                                                          $____________                              0.00
                                                                                                                                                                               $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ..................................

        For you .......................................................................                   0.00
                                                                                                 $_____________
        For your spouse .........................................................                          0.00
                                                                                                 $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                                                       0.00
                                                                                                                                          $____________                               0.00
                                                                                                                                                                               $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments
     received as a victim of a war crime, a crime against humanity, or international or
     domestic terrorism. If necessary, list other sources on a separate page and put the
     total on line 10c.
                                                                                                                                                   0.00                               0.00
             0
       10a. __________________________________________________________________
                                                                                                                                          $_____________                       $___________

             0
       10b. __________________________________________________________________
                                                                                                                                                   0.00
                                                                                                                                          $_____________                              0.00
                                                                                                                                                                               $___________

       10c. Total amounts from separate pages, if any.                                                                                           0.00
                                                                                                                                      + $____________                               0.00
                                                                                                                                                                           + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                        4,000.00
                                                                                                                                          $____________                +       $___________           =     4,000.00
                                                                                                                                                                                                          $________
                                                                                                                                                                                                          Total average
                                                                                                                                                                                                          monthly income




Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ..........................................................................................................................                         4,000.00
                                                                                                                                                                                                       $_____________
13. Calculate the marital adjustment. Check one:

     
     ✔    You are not married. Fill in 0 in line 13d.
         You are married and your spouse is filing with you. Fill in 0 in line 13d.
         You are married and your spouse is not filing with you.
          Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
          or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
          your dependents.
           In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 on line 13d.
           13a. _______________________________________________________________________                                                       $___________
           13b. _______________________________________________________________________                                                       $___________
           13c. _______________________________________________________________________                                                    + $___________
           13d. Total .............................................................................................................           $___________                Copy here.         13d.   ─____________

14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                              14.          4,000.00
                                                                                                                                                                                                       $ __________


15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here            ..................................................................................................................................................... 15a.         4,000.00
                                                                                                                                                                                                      $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                x 12
     15b. The result is your current monthly income for the year for this part of the form.                                                                                                 15b.        48,000.00
                                                                                                                                                                                                      $___________


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                     First Name          Middle Name                 Last Name




16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                               PA
                                                                                            _________

     16b. Fill in the number of people in your household.                                       6
                                                                                            _________


     16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.                                  114,492.00
                                                                                                                                                                                                   $___________
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.
            ✔
                 Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
                  § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C–2). On line 39 of that form, copy
                  your current monthly income from line 14 above.

Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                      4,000.00
                                                                                                                                                                                                   $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
     that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
     income, copy the amount from line 13d.
     If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                     19a.
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                 ─ $__________

     Subtract line 19a from line 18.
                                                                                                                                                                                          19b.
                                                                                                                                                                                                      4,000.00
                                                                                                                                                                                                   $__________


20. Calculate your current monthly income for the year. Follow these steps:

     20a. Copy line 19b.. ............................................................................................................................................................... 20a.       4,000.00
                                                                                                                                                                                                  $___________

            Multiply by 12 (the number of months in a year).                                                                                                                                     x 12
     20b. The result is your current monthly income for the year for this part of the form.                                                                                             20b.        48,000.00
                                                                                                                                                                                                  $___________


     20c. Copy the median family income for your state and size of household from line 16c. ........................................................
                                                                                                                                                                                                   114,492.00
                                                                                                                                                                                                  $___________

21. How do the lines compare?

         Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
          3 years. Go to Part 4.
     
     ✔    Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
          check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:           Sign Below

        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

         /s Franklin A. Bennett III
              ___________________________________________________                                              ____________________________________
             Signature of Debtor 1                                                                                  Signature of Debtor 2


                   01/18/2019
             Date _________________                                                                                 Date _________________
                    MM / DD         / YYYY                                                                                   MM / DD        / YYYY



        If you checked 17a, do NOT fill out or file Form 122C–2.
        If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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